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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


     PRINCETON DIGITAL IMAGE
     CORPORATION,

                           Plaintiff,                   C.A. No. 12-1461 (LPS) (CJB)

            v.

     KONAMI DIGITAL ENTERTAINMENT INC,
     HARMONIX MUSIC SYSTEMS, INC. and
     ELECTRONIC ARTS, INC.,

                           Defendants.



    JOINT MOTION TO STAY CASE DEADLINES AND NOTICE OF SETTLEMENT

         Plaintiff Princeton Digital Image Corporation (“PDI”) and defendants Harmonix Music

  Systems, Inc. (“Harmonix”) and Electronic Arts, Inc. (“EA”) hereby jointly move to stay all case

  deadlines with respect to PDI and Harmonix/EA in Case No. 12-1461 (LPS) (CJB) for thirty (30)

  days, up to and including September 4, 2018.

         Plaintiff PDI and defendants Harmonix/EA have resolved the disputed issues between

  them. As a result, PDI and Harmonix/EA respectfully request a stay of all proceedings as

  between PDI and Harmonix/EA, during which time the parties will prepare proposed Orders of

  dismissal and submit them to the Court.

         No party will be prejudiced by the requested stay, and this request is not made for

  purposes of delay or for any other improper purpose. All deadlines as to PDI’s claims against

  defendant Konami Digital Entertainment, Inc. (“Konami”) in this case, and all deadlines as to

  PDI’s claims against defendant Ubisoft, Inc. (“Ubisoft”) in co-pending Case No. 13-0335 (LPS)

  (CJB), would remain unchanged.


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         Therefore, plaintiff PDI and defendants Harmonix/EA respectfully request that the Court

  enter an Order staying all deadlines between PDI and Harmonix/EA up to and including

  September 4, 2018. A proposed Order is attached hereto.



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  Dated: August 3, 2018                       Systems, Inc. and Electronic Arts, Inc.




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